         Case: 21-16506, 07/03/2023, ID: 12748035, DktEntry: 248, Page 1 of 1




Gary A. Bornstein
gbornstein@cravath.com
T+1-212-474-1084
New York


July 3, 2023

               Epic Games, Inc. v. Apple Inc., Nos. 21-16506 & 21-16695 (9th Cir.)

Dear Ms. Dwyer:

I write on behalf of Epic Games, Inc. (“Epic”) in the above-captioned matters.

Earlier today, Apple Inc. (“Apple”) moved to stay the issuance of the mandate in these matters
pending the resolution of a petition for a writ of certiorari that Apple asserts it intends to file in
the Supreme Court. (See No. 21-16506, Dkt. 247.) Epic opposes Apple’s motion to stay and
intends to file a brief in opposition promptly, and in advance of July 7, 2023, when the Court’s
mandate will issue absent a stay.

Epic respectfully requests that the Court await Epic’s submission of its opposition brief before
ruling on Apple’s motion to stay.


                                                   Sincerely,



                                                   /s/ Gary A. Bornstein
                                                   Gary A. Bornstein

Molly Dwyer, Clerk of Court
Office of the Clerk
U.S. Court of Appeals for the Ninth Circuit
P.O. Box 193939
San Francisco, CA 94119-3939
(415) 355-8000

Cc: Counsel of Record
